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   %.AO 187 (Rev 7/87} Exhibit and Witness List


                                                    UNITED STATES DISTRICT COURT
                                 SOUTHERN                                                     DISTRICT OF                                               FLORIDA


                                          USA
                                                                                                                      EXHIBIT AND WITNESS LIST
                                          V.
                                  Luke Joselin                                                                             Case Number: 22-cr-60028-WPD

   PRESIDING JUDGE                                                   PLAINTIFF'S ATTORNEY                                               DEFENDANT'S ATTORNEY
    William P. Dimitrouleas
   TRIAL DA TE (S)
    8/15/2022-. (1 \1l,.
    PLF.     DEF. If  'OATE'
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                             'I iliARKED ADMITTED
                                                                       Kiran Narayan Bhat
                                                                      COURT REPORTER
                                                                       Francine Salopek
                                                                                                                 lf'\'i'c.l\~~, ~m~ ~Dameka Lachelle Davis
                                                                                                                                        COURTROOM DEPUTY
                                                                                                                                            Crystal Barnes-Butler
                                                                                                                 DESCRIPTION OF EXHIBITS* AND WITNESSES
    NO.      NO.     OFFERED


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  • Include a notation as to the location of any exlubit not held with the case file or not available because of size .

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Exhibit No. . Description .            ..
BlueVine and J(abbage rPP Loan Records·~ 1-100:Series
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                                                                                                                               Witness D~lte Ad:rp.itted
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2             Loan files for Luke Joselin Sole Proprietorship                                                                                          r'"r '
2a            BlueVine Borrower Application Form                                                                                                              - ...   :r
                                                                                                                                                                      ,l
2b            Bank statements from loan file                                                                                                           Cl/'f..fL.r
2c
2d
2e
              BlueVine depository bank account information
               Schedule C from loan file
              IP address log in information
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2f            BlueVine promissory note                                                                                                                         \\' :s
3             Loan files for Judlex Jean Louis Sole Proprietorship
3a            BlueVine Borrower Application Form
3b            Bank statement from loan file
3c            BlueVine depository bank account information
3d            'Schedule C from loan file
3e             IP address log in information                                                                                      --
3f             BlueVine promissory note                                                             -
4             Loan files for Renaldo Harrison Sole Proprietorship
4a             Kabbage Borrower Application Form
4b            Bank statement from loan file
4c            Florida driver license from loan file
4d            Kabbage depository bank account information
4e             Schedule C from loan file
4f             Kabbage promissory note
4g             IP address log in information
5              Loan files for J.A.G.C. Sole Proprietorship
Sa             BlueVine Borrower Application Form
Sb             Bank statement from loan file
                                                                                                                                              .
Sc             Florida driver license from loan file
Sd            BlueVine depository bank account information
                                                                                                                                                   ,
Se             Schedule C from loan file
Sf             IP address log in information
Sg             BlueVine promissory note
                                                                            -
6              Loan files for T.D. Sole Proprietorship
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    Exhibit No.·   Description·                                                                     Admitting Witness Date Admitted
                   BlueVine Borrower Application Form                                                                         ,
    6a
    6b             Bank statement from loan file                                                -

    6c             BlueVine depository bank account information
    6d.            Schedule C from loan file
    6e             IP address log in information
    6f             BlueVine promissory note
    7              Loan files for Luke Joselin/24Hour Printing Inc.
    7a             BlueVine Borrower Application Form
    7b             Bank statement from loan file                                                                                  -
    7c             BlueVine depository bank account information
    7d             Form 941 from loan file
    7e             IP address log in information
    7f             BlueVine loan application information
    7g             Correspondence regarding application
    7h             BlueVine promissory note
    8              Loan files for Luke Joselin/Hug a Print LLC
    8a             Kabbage Borrower Application Form
    8b             Articles of Incorporation from loan file
    8c             Florida driver license from loan file
    8d             Kabbage depository bank account information
    8e             Form W3-SS from loan file
    8f             Kabbage promissory note
    8g             IP address login information
    9              Loan files for Judlex Jean Louis/Pricerite LLC
    9a             Kabbage application information
    9b             Articles of Incorporation from loan file
\   9c             Social security card from loan file
    9d             Florida driver license from loan file    '

    9e             Kabbage depository bank account information
    9f             Form W3-SS from loan file
    9g             IP address login information
    9h             Kabbage communication regarding loan rejection


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    Exhibit No~ Description -,                                                                      Admitting Witness Date "Admitted
    10          Loan files for Renaldo Harrison/Skicas LLC
    10a         Kabbage application information
    10b         Articles of Incorporation from loan file
    10c         Florida driver license from loan file
    10d         Kabbage depository bank account information
    l0e         Form  W3-SS from loan file
    lOf         IP address login information
    10g         Kabbage communication regarding loan approval
    10h         Kabbage communication regarding loan expiry without claim
    Bank E.ecords -101-200 Series
    102         Bank records for Luke Joselin at Pentagon Federal Credit Union                                          -
    102a        Membership profile                                                             '
    102b        Combined account statements for 2020
    102c        Check returning funds to Celtic Bank
    103         Bank   records for Judlex Jean Louis at BBVA USA
    103a        Account profile
    103b        Account statements for June 2020
    104         Bank records for Renaldo Harrison at Tropical Financial Credit Union
    104a        Account profile
    104b        Account statement for June 2020
    105         Bank records for J.A.G.C. at JPMorgan Ch·ase Bank
    105a        Combined signature cards
    105b        Account statements for account ending in 6499
    105c        Account statements for account ending in 9989
    105d        Check image of $15,000 check to Judlex Jean Louis
    106         Bank records for Judlex Jean Louis at Discover
    106a        Customer Information
    106b        Account   statements for 2020
                                                                                                      ,
    107         Bank records for 24Hour Printing Inc. at Wells Fargo Bank ending in 6502 and 8021
    107a        Signature card for account ending in 6502
    107b        Signature card for account ending in 8021
    107c        Statements for account ending in 6502


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107d          Statements for account ending in 8021
107e          Checks  from account ending in 8021
108           Bank records for 24Hour Printing Inc. at Wells Fargo Bank ending in 6361 and 7287
108a          Signature card for account ending in 6361
108b          Signature card for account ending in 7287
108c          Statements for account ending in 6361
108d          Statements for account ending in 7287
108e          Checks from account ending in 7287
110           Bank records for Skicas LLC at Wells Fargo Bank
110a          Signature card
110b          Statements         ,,
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Em'aiJs:- 201-300 Series . ···      . ,~
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202           Emails relating to Luke Joselin Sole Proprietorship application
202a          Subject: LUKEJOSELINSCHC-ONLY.pdf
202b          Subject: 77154 CPN CardS
202c          Subject: Not cpn
202d          Subject:Completed: Please DocuSign: Paycheck-Protection-Program-Application ...
203           Emails relating to Judlex Jean Louis Sole Proprietorship application
203a          Subject: 24
203b          Subject: Your PPP funds are on the way
203c          Subject:Completed: Please DocuSign: Paycheck-Protection-Program-Application ...
204           Email relating to Renaldo Harrison Sole Proprietorship application
204a          Subject: We need your help to verify your info
205           Emails  relating to J.A.G.C. Sole Proprietorship application
205a          Subject: Jenny
205b         ,Subject: Jenny Checking account
205c          Subject: Jenny Savings account
205d          Subject: JENNY COLORADO
205e          Subject: You have an offer for the Paycheck Protection Program
205f          Subject:Completed: Please DocuSign: Paycheck-Protection-Program-Application ...
206           Emails relating to T .D. Sole Proprietorship application
206a          Subject: Tabitha


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Exhibit No: . Description                                                                        Admitting Witness Dafe Admitted
206b          Subject: TABITHA DERENONCOURT
206c          Subject: Completed: Please DocuSign: Paycheck-Protection-Program-Application ...
207           Emails relating to 24Hour Printing Inc. application
207a          Subject: 1120S 24HOUR PRINTING FINAL.pdf
207b          Subject: Completed: Please DocuSign: Paycheck-Protection-Program-Application ...
207c          Subject: Wells Fargo Transfers: Online transfers initiated
207d          Subject: Wells Fargo Transfers: Online transfers initiated
208           Emails relating to Hug a Print LLC application'
208a          Subject: LIC
208b          Subject: Wells Fargo Transfers: Online transfers initiated -
208c          Subject: Reinstatement Application Approved ...
209           Emails relating to Pricerite LLC application                                                     '-

209a          Subject:
209b          Subject: An update regarding your SBA loan application
210           Emails   relating to Skicas LLC application
210b          Subject: Congrats! Your business was approved for an SBA loan
210c          Subject: Your SBA loan offer has expired
Messages - 301-400 Series.
301           Messages and call logs between Luke Joselin and Judlex Jean Louis
301a          Transcript of messages and call logs
301b          Article sent by Jean Louis to Joselin on June 1, 2020
301c          Screenshot sent by Joselin to Jean Louis on June 3, 2020
301d          Screenshot sent by Joselin to Jean Louis on June 3, 2020
301e          Screenshot sent by Joselin to Jean Louis on June 6, 2020      '
301f          Screenshot sent by Joselin to Jean Louis on June 8, 2020
301g          Image sent by Jean Louis to Joselin on June 25, 2020
301h          PDF sent by Joselin to Jean Louis on June 25, 2020
30li          PDF  sent by Joselin to Jean Louis on June 25, 2020 ,,
301j          PDF sent by Joselin to Jean Louis on June 25, 2020
301k          PDF sent by Jean Louis to Joselin on July 31, 2020
3011          PDF sent by Joselin to Jean Louis on July 31, 2020
302           Messages and call logs between Luke Joselin and Renaldo Harrison


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Exhibit No. Description             ,,                                                  Admitting Witness Date Admitted
302a        Transcript of messages and call logs
302b        Images sent by Harrison to Joselin on May 30, 2020
302c        Banlc statement sent by Harrison to Joselin on May 30, 2020
302d        PDF sent by Joselin to Harrison on July 11, 2020
302e        PDF sent by Harrison to Joselin on July 11, 2020
Mortgage Loan Files - 400-500 series
407         First Savings Bank home mortgage loan file
407a        Final closing disclosure dated July 8, 2020
407b        J oselin 2019 tax return
407c        24Hour Printing, Inc. 2019 Form 1120S
407d        Verbal verification of employment form
407e        Social security card
                                                                             -   ,,




407f        24Hour Printing, Inc. 2020 profit and loss report
Subscriber, Corporate, and Other.Miscellaneous Records - 500-600 series
502         freelay21p@gmail.com subscriber records
503         judlex62688@gmail.com subscriber records
504         renaldoah81@gmail.com subscriber records
505         value33069@gmail.com subscriber records
506,---,    value33068@gmail.com subscriber records
507         freelay21@gmail.com subscriber records
507a        freelay21@gmail.com subscriber records
507b        freelay21@gmail.com Google Pay records
508         lukewithdna@gmail.com       subscriber records
509         Judlex1242@gmail.com subscriber records                          I


510         skicasllc@gmail.com subscriber records
511         Sprint subscriber records, telephone number ending in 1766
512         Sprint subscriber records, telephone number ending in 6251
513         Sprint subscriber records, telephone number ending in 6324
514         Verizon subscriber records, telephone number ending in 0627
515         Bluestream internet subscribetrecords
                                                           -
515a        IP address ending .135 (3820 NW 112th Way)
515b        IP address ending .74 (10841 NW 34th Place)


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Exhibit No.   Description                                                                          · · Admitting Witness Date Admitted
516           Comcast internet subscriber records
516a          IP address ending .249 (6041 Kimberly Blvd.), .169, .183, .47 (7208 SW 4th Street)
527           24Hour Printing Inc. corporate records
528           Hug a Print LLC corporate records
529           Pricerite LLC corporate records
530           Skicas LLC corpoate records                                             •.




531           Letter from Internal Revenue Service to U.S. Attorney's Office
                                                                                                                     .
532           Judlex Jean Louis plea agreement
533           Renaldo Harrison plea agreement
534           Luke Joselin driver license records




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